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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                PINE BLUFF DIVISION

JUSTIN MCCALISTER,                                                                 PLAINTIFF

v.                                Case No. 5:18-cv-00283-KGB-JTR

RONALD STUKEY, et al.                                                            DEFENDANT

                                            ORDER

       Before the Court is a Recommended Disposition submitted by United States Magistrate

Judge J. Thomas Ray (Dkt. No. 64). Plaintiff Justin McCalister has filed no objections to the

Recommended Disposition, and the time for filing objections has passed. After review of the

Recommended Disposition, the Court adopts the Recommended Disposition in its entirety (Dkt.

No. 64).

       The Court grants defendants’ motion for summary judgment filed by Estella Bland and Dr.

Ronald Stuckey and dismisses with prejudice Mr. McCalister’s constitutional claims against Ms.

Bland and Dr. Stuckey. The Court certifies that an in forma pauperis appeal from this Order would

not be taken in good faith.

       It is so ordered this 9th day of November, 2020.

                                                    __________________________________
                                                    Kristine G. Baker
                                                    United States District Judge
